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  Notice of Appeal Criminal                                                             Rev. 3/88



           United States District Court for the District of Columbia

  UNITED STATES OF AMERICA                           )
                                                     )
                        vs.                          )        Criminal No. 21CR043 (CJN)
                                                     )
   RASHA N. ABUAL-RAGHEB                             )


                                       NOTICE OF APPEAL


 Name and address of appellant:                     Rasha N. Abual-Ragheb




 Name and address of appellant’s attorney:          Elita C. Amato
                                                    2111 Wilson Blvd., 8th Floor
                                                    Arlington, VA 22201



 Offense: 40 USC 5104(e)

 Concise statement of judgment or order, giving date, and any sentence:
     Judgment Filed on 11/30/2021; 36 months probation, first 2 months home confinement;
     60 hours of community service


 Name and institution where now confined, if not on bail: on release


         I, the above named appellant, hereby appeal to the United States Court of Appeals for the
 District of Columbia Circuit from the above-stated judgment.


  DATE                                               APPELLANT

                                                     ATTORNEY FOR APPELLANT

 GOVT. APPEAL, NO FEE
 CJA, NO FEE                  ✔
 PAID USDC FEE
 PAID USCA FEE
 Does counsel wish to appear on appeal?                          YES        NO   ✔
 Has counsel ordered transcripts?                                YES        NO   ✔
 Is this appeal pursuant to the 1984 Sentencing Reform Act?      YES        NO   ✔
